72 F.3d 919
    315 U.S.App.D.C. 280
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Irisdeane H. CHARLES, Appellant,v.NATIONAL REHABILITATION HOSPITAL;  Sharon Bottcher.
    No. 94-7221.
    United States Court of Appeals, District of Columbia Circuit.
    Nov. 29, 1995.
    
      Before:  BUCKLEY, GINSBURG, and HENDERSON, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for an opinion.  See D.C.Cir.Rule 36(b).  It is
    
    
      2
      ORDERED AND ADJUDGED that the order of the district court granting summary judgment and dismissing appellant's claims for constructive discharge and intentional infliction of emotional distress be affirmed substantially for the reasons stated by the district court in its memorandum opinion filed September 29, 1994.  The working conditions alleged by appellant do not amount to constructive discharge or intentional infliction of emotional distress.  See Katradis v. Dave-El of Washington, D.C., 846 F.2d 1482, 1485 (D.C.Cir.1988);  Clark v. Marsh, 665 F.2d 1168, 1173 (D.C.Cir.1981);  Waldon v. Covington, 415 A.2d 1070, 1076 (D.C.1980).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir. Rule 41.
    
    